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                        EXHIBIT B
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Christina Henry

From:                  Scott C. Borison <scott@borisonlaw.com>
Sent:                  Saturday, April 3, 2021 2:41 PM
To:                    Petersen, Chelsea D. (Perkins Coie)
Cc:                    Christina Henry; Scott Borison; J. Craig Jones; Craig Hill; Shook, Heather (Perkins Coie); Jasukaitis,
                       Margo (Perkins Coie)
Subject:               Re: Hesketh - 30(b)(6) and defendant class


Chelsea

Do you have time Monday to talk about the issue you raised in the last paragraph?

Scott

Scott C. Borison. This email may contain confidential information. If you have received it in error you should delete it.
1900 S. Norfolk St. Suite 350
San Mateo CA 94403
Scott@borisonfirm.com
301‐620‐1016
Fax (301) 620‐1018




          On Mar 31, 2021, at 3:16 PM, Petersen, Chelsea D. (Perkins Coie) <CDPetersen@perkinscoie.com>
          wrote:



          Counsel,

          You previously inquired as to whether as counsel for TRC we can accept service of plaintiff’s Notice of
          Deposition directed at DaVita, Inc. I am writing to confirm that we are authorized to accept service of a
          subpoena (not a notice) of non‐party records and testimony. In doing so, DaVita reserves all rights to
          object to some or all of the matters of examination or requests for production of documents as
          contemplated by Federal Rule 45.

          In anticipation of the forthcoming subpoena, we plan to provide a letter attempting to clarify and focus
          the matters for examination and the documents requested so that DaVita can designate and prepare an
          appropriate witness or witnesses. As it stands right now, there are over 26 topics listed and some, as
          currently drafted, are virtually impossible to properly prepare a witness to cover.

          Potentially most important, the listed 30(b)(6) topics (as well as other discovery) reveal that plaintiff is
          focused on piecing together bits and pieces of information to establish the relationship between TRC
          and DaVita for purposes of establishing the defendant class. It would be helpful for us to understand
          why plaintiff has structured this case as a putative defendant class of DaVita subsidiaries as opposed to
          naming DaVita as a defendant. It may be possible for us to cut through this seemingly inefficient
          process by reaching an agreement as to the defendant class definition or otherwise stipulating to the
          structure. I invite your response and/or any suggestions as to how to proceed.

          Chelsea
                                                                1
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sender by reply email and immediately delete the message and any attachments without copying or disclosing the contents. Thank you.




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